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PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                      Trademark/Service Mark Application, Principal Register
                                                              TEAS Plus Application
                                                                   Serial Number: 86681297
                                                                   Filing Date: 07/01/2015

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                       The table below presents the data as entered.

                        Input Field                                                        Entered
             TEAS Plus                     YES
             MARK INFORMATION
             *MARK                         EMiO
             *STANDARD
             CHARACTERS
                                           YES

             USPTO-GENERATED
             IMAGE
                                           YES

             LITERAL ELEMENT               EMiO
             *MARK STATEMENT               The mark consists of standard characters, without claim to any particular font, style, size, or color.
             REGISTER                      Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                Interworks Unlimited Inc.
             *STREET                       2418 Peck Rd.
             *CITY                         City of Industry
             *STATE
             (Required for U.S.            California
             applicants)

             *COUNTRY                      United States
             *ZIP/POSTAL CODE
             (Required for U.S.            90601
             applicants)

             LEGAL ENTITY INFORMATION
             *TYPE                         CORPORATION
             * STATE/COUNTRY OF
                                           California
             INCORPORATION

             GOODS AND/OR SERVICES AND BASIS INFORMATION
             * INTERNATIONAL
                                           009
             CLASS

                                           Consumer electronic products, namely, audio amplifiers, audio speakers, audio receivers, electrical
                                           audio and speaker cables and connectors, audio decoders, video decoders, speakers, power
             *IDENTIFICATION               conversion devices, power converters, and power inverters; Electronic apparatus, namely, electronic
                                           display boards, plasma display boards, electronic display screens; Electronic controllers for use with



                                                                                                                                                    3
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                       power converters
*FILING BASIS          SECTION 1(a)
  FIRST USE
ANYWHERE DATE
                       At least as early as 05/01/2014

  FIRST USE IN
COMMERCE DATE
                       At least as early as 05/01/2014

   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE   SPE0120-7254247185-20150701224738920246_._EMiO_2014_Smart_ChristmasTree_Salesheet.pdf
   CONVERTED PDF
FILE(S)                \\TICRS\EXPORT16\IMAGEOUT16\866\812\86681297\xml1\FTK0003.JPG
   (1 page)

   SPECIMEN
DESCRIPTION
                       Product Specification Sheet

ADDITIONAL STATEMENTS INFORMATION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR
REGISTRATION
(if applicable)

*CONSENT
(NAME/LIKENESS)
(if applicable)

*CONCURRENT USE
CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                   Tommy SF Wang
FIRM NAME              Yang & Wang, P.C.
STREET                 355 S. Grand Ave. #2450
CITY                   Los Angeles
STATE                  California
COUNTRY                United States
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PHONE                  909-520-4381
FAX                    888-827-8880
EMAIL ADDRESS          yangwanglaw@gmail.com
AUTHORIZED TO
COMMUNICATE VIA        Yes
EMAIL

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    Case 3:18-cv-00828-MHL Document 10-3 Filed 03/19/19 Page 3 of 7 PageID# 105


*STATE
(Required for U.S.   California
applicants)

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*AUTHORIZED TO
COMMUNICATE VIA      Yes
EMAIL

FEE INFORMATION
APPLICATION FILING
OPTION
                     TEAS Plus

NUMBER OF CLASSES    1
FEE PER CLASS        225
*TOTAL FEE PAID      225
SIGNATURE INFORMATION
* SIGNATURE          /Tommy SF Wang/
* SIGNATORY'S NAME   Tommy SF Wang
* SIGNATORY'S
POSITION
                     Attorney of record, California bar member

SIGNATORY'S PHONE
NUMBER
                     909-520-4381

* DATE SIGNED        07/01/2015
                   Case 3:18-cv-00828-MHL Document 10-3 Filed 03/19/19 Page 4 of 7 PageID# 106

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OMB No. 0651-0009 (Exp 02/28/2018)




                                     Trademark/Service Mark Application, Principal Register

                                                            TEAS Plus Application

                                                             Serial Number: 86681297
                                                             Filing Date: 07/01/2015
To the Commissioner for Trademarks:
MARK: EMiO (Standard Characters, see mark)
The literal element of the mark consists of EMiO.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicant, Interworks Unlimited Inc., a corporation of California, having an address of
   2418 Peck Rd.
   City of Industry, California 90601
   United States


requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 009: Consumer electronic products, namely, audio amplifiers, audio speakers, audio receivers, electrical audio and
speaker cables and connectors, audio decoders, video decoders, speakers, power conversion devices, power converters, and power inverters;
Electronic apparatus, namely, electronic display boards, plasma display boards, electronic display screens; Electronic controllers for use with
power converters



In International Class 009, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 05/01/2014, and first used in commerce at least as early as 05/01/2014, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Product Specification Sheet.

Original PDF file:
SPE0120-7254247185-20150701224738920246_._EMiO_2014_Smart_ChristmasTree_Salesheet.pdf
Converted PDF file(s) (1 page)
Specimen File1



The applicant's current Attorney Information:
   Tommy SF Wang of Yang & Wang, P.C.
   355 S. Grand Ave. #2450
   Los Angeles, California 90071
   United States

The applicant's current Correspondence Information:
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   Yang & Wang, P.C.
   355 S. Grand Ave. #2450
   Los Angeles, California 90071
   909-520-4381(phone)
   888-827-8880(fax)
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     yangwanglaw@gmail.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to
do so will result in an additional processing fee of $50 per international class of goods/services.

A fee payment in the amount of $225 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. Section 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant or the applicant's related company or licensee is using the mark in commerce on or
in connection with the goods/services in the application, and such use by the applicant's related company or licensee inures to the benefit of the
applicant; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed an
application under 15 U.S.C. Section 1051(b), Section 1126(d), and/or Section 1126(e), the applicant is entitled to use the mark in commerce; the
applicant has a bona fide intention to use or use through the applicant's related company or licensee the mark in commerce on or in connection
with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and belief, no other person has the
right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
goods/services of such other person, to cause confusion or mistake, or to deceive. The signatory being warned that willful false statements and
the like are punishable by fine or imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like may
jeopardize the validity of the application or any registration resulting therefrom, declares that all statements made of his/her own knowledge are
true and all statements made on information and belief are believed to be true.


Signature: /Tommy SF Wang/ Date Signed: 07/01/2015
Signatory's Name: Tommy SF Wang
Signatory's Position: Attorney of record, California bar member



RAM Sale Number: 86681297
RAM Accounting Date: 07/02/2015

Serial Number: 86681297
Internet Transmission Date: Wed Jul 01 22:54:45 EDT 2015
TEAS Stamp: USPTO/FTK-XX.XX.XXX.XXX-2015070122544555
9941-86681297-530a0f4b120cae74a2c1419f2f
e341393d258d6913385ffad9f65f981462541536
9-CC-8836-20150701224738920246
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